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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:08CR87
                                               )
              Plaintiff,                       )
                                               )                 AMENDED
              vs.                              )             TENTATIVE FINDINGS
                                               )
CORLEONE MONSHAE McCURRY,                      )
                                               )
              Defendant.                       )


       The Court has received the Presentence Investigation Report (“PSR”) in this case.

After the original Tentative Findings were issued, the Defendant filed an objection to the

PSR. See Order on Sentencing Schedule, ¶ 6. The government adopted the PSR. (Filing

No. 61.) The Court advises the parties that these Amended Tentative Findings are issued

with the understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S.

Jan. 12, 2005), the sentencing guidelines are advisory.

       The Defendants both pleaded guilty to, among other counts, Count III of the

Indictment charging a violation of 18 U.S.C. § 924(c). Since their initial appearance, the

Defendants have been advised that the statutory penalty faced for a violation of Count III

is a consecutive term of imprisonment for 10 years to life. (Filing Nos. 16, 54.) The

Defendant now argues that, because his codefendant received a sentence of 5 years on

Count III, he is entitled to receive the same sentence. The Defendant argues that there is

no showing that the enhanced penalty of a 10-year minimum term of imprisonment

described in 18 U.S.C. § 924(c)(1)(A)(iii) applies in his case, arguing that the factual basis

is the same for both defendants.

       This issue will be discussed at sentencing. However, the Court notes specific parts

of the record, including the government’s version of the offense:
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       [O]ne of the suspects on the second floor discharged a 9mm pistol which was
       later recovered. . . . SGT Jerry Baggett . . . saw a muzzle flash through a
       second story window. McCurry was arrested on the second floor.

               ....

             DNA swabs [were] taken from all suspects and the pistol and DNA
       was developed. Results indicate McCurry, Copeland and Chance Jackson
       cannot be excluded as the donors of that DNA. CW statements indicate that
       McCurry had handled the weapon that day.”

(PSR, ¶ 19.)

       The Defendant did not submit a version of the offense. However, he answered

question 45 of the Petition to Enter a Plea of Guilty in part as follows: “During the raid, a

gun was discharged by someone on the second floor.” (PSR, ¶ 23; Filing No. 53, ¶ 45.)

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      The issue raised by the Defendant will be discussed at sentencing;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.      Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and


                                               2
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      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 19th day of November, 2008.

                                        BY THE COURT:


                                        s/Laurie Smith Camp
                                        United States District Judge




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